18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                     Pg 1 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                     Pg 2 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                     Pg 3 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                     Pg 4 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                     Pg 5 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                     Pg 6 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                     Pg 7 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                     Pg 8 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                     Pg 9 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                    Pg 10 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                    Pg 11 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                    Pg 12 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                    Pg 13 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                    Pg 14 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                    Pg 15 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                    Pg 16 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                    Pg 17 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                    Pg 18 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                    Pg 19 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                    Pg 20 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                    Pg 21 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                    Pg 22 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                    Pg 23 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                    Pg 24 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                    Pg 25 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                    Pg 26 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                    Pg 27 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                    Pg 28 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                    Pg 29 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                    Pg 30 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                    Pg 31 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                    Pg 32 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                    Pg 33 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                    Pg 34 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                    Pg 35 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                    Pg 36 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                    Pg 37 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                    Pg 38 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                    Pg 39 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                    Pg 40 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                    Pg 41 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                    Pg 42 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                    Pg 43 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                    Pg 44 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                    Pg 45 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                    Pg 46 of 47
18-23538-shl   Doc 4777-1   Filed 08/06/19 Entered 08/06/19 22:31:02   Declaration
                                    Pg 47 of 47
